 Case 3:18-cv-00284-REP Document 15 Filed 12/19/18 Page 1 of 18 PageID# 101




                  IN THE tJNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF VIRGINIA                          DEC i 9 2018
                              Richmond Division
                                                                          CLERK. U^'. DISTRICT COURT
GUY VARNER HAZLEGROVE,                                                          RICHMOND VA


     Plaintiff,

V.                                             Civil Action No.        3:18-cv-284


COLONIAL PIPELINE CO.,

     Defendant.



                              HEHORANDUH OPINION


     This   matter    is    before    the     Court    on   DEFENDANT'S       MOTION     TO


DISMISS    PLAINTIFF'S      AMENDED        COMPLAINT    {ECF    No.    11).     For    the

following    reasons,      DEFENDANT'S        MOTION    TO     DISMISS     PLAINTIFF'S

AMENDED COMPLAINT (ECF No. 11) will be granted.

                                     BACKGROUND


I.   Procedural Context


     Plaintiff      Guy    Varner    Hazlegrove,       proceeding      pro     se,    sues

Defendant   Colonial       Pipeline    Co.     ("Colonial")      for     "Harassment,"

"Sexual    Discrimination,"         euid    "Wrongful       Termination      under     the

Americans with Disabilities Act." Am. Compl. 2                   (ECF No. 10)

     The    Court     previously           dismissed        Hazlegrove's       original

Complaint because he had failed to bring the federal Title VII or



^ In his original Complaint, Hazlegrove alleged "Assault" instead
of "Harassment." Compl. 5 (ECF No. 1). Hazlegrove does allege
assaultive conduct in his "Preliminary Statement" of the Amended
Complaint but does not include it among the three claims he lists
as a "basis for jurisdiction." Am. Compl. 2-3 (ECF No. 10).
Case 3:18-cv-00284-REP Document 15 Filed 12/19/18 Page 2 of 18 PageID# 102
Case 3:18-cv-00284-REP Document 15 Filed 12/19/18 Page 3 of 18 PageID# 103
Case 3:18-cv-00284-REP Document 15 Filed 12/19/18 Page 4 of 18 PageID# 104
Case 3:18-cv-00284-REP Document 15 Filed 12/19/18 Page 5 of 18 PageID# 105
Case 3:18-cv-00284-REP Document 15 Filed 12/19/18 Page 6 of 18 PageID# 106
Case 3:18-cv-00284-REP Document 15 Filed 12/19/18 Page 7 of 18 PageID# 107
Case 3:18-cv-00284-REP Document 15 Filed 12/19/18 Page 8 of 18 PageID# 108
Case 3:18-cv-00284-REP Document 15 Filed 12/19/18 Page 9 of 18 PageID# 109
Case 3:18-cv-00284-REP Document 15 Filed 12/19/18 Page 10 of 18 PageID# 110
Case 3:18-cv-00284-REP Document 15 Filed 12/19/18 Page 11 of 18 PageID# 111
Case 3:18-cv-00284-REP Document 15 Filed 12/19/18 Page 12 of 18 PageID# 112
Case 3:18-cv-00284-REP Document 15 Filed 12/19/18 Page 13 of 18 PageID# 113
Case 3:18-cv-00284-REP Document 15 Filed 12/19/18 Page 14 of 18 PageID# 114
Case 3:18-cv-00284-REP Document 15 Filed 12/19/18 Page 15 of 18 PageID# 115
Case 3:18-cv-00284-REP Document 15 Filed 12/19/18 Page 16 of 18 PageID# 116
Case 3:18-cv-00284-REP Document 15 Filed 12/19/18 Page 17 of 18 PageID# 117
Case 3:18-cv-00284-REP Document 15 Filed 12/19/18 Page 18 of 18 PageID# 118
